FRANK SHLAUDEMAN, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Shlaudeman v. CommissionerDocket No. 32546.United States Board of Tax Appeals21 B.T.A. 605; 1930 BTA LEXIS 1823; December 10, 1930, Promulgated *1823  1.  Henry Cappellini et al.,14 B.T.A. 1269"&gt;14 B.T.A. 1269, followed.  2.  Held, the petitioner is a transferee of assets of the Decatur Brewing Co., a dissolved corporation, of a value in excess of the outstanding balance due upon an assessment of deficiencies in 1920 and 1922 income and profits taxes of said corporation and is liable for the payment of said balance.  Nelson T. Hartson, Esq., for the petitioner.  J. O. Rhyne, Esq., for the respondent.  SEAWELL*605  In a letter mailed the petitioner October 6, 1927, the respondent proposed for assessment against him as transferee of assets of the Decatur Brewing Co. of Decatur, Ill., the sum of $8,413.90, being the amount of unpaid income taxes asserted to be due from said company plus any accrued penalty and interest for the years 1920 and 1922.  The liability of the petitioner for the payment of the deficiency in tax is denied and the constitutionality of section 280 of the Revenue Act of 1926 is contested.  The case is submitted on the pleadings and stipulations.  FINDINGS OF FACT.  The petitioner is an individual residing in Peoria, Ill.  It is stipulated that the respondent*1824  duly and legally assessed against the Decatur Brewing Co., an Illinois corporation, deficiencies *606  in income and profits taxes for 1920 and 1922, upon which assessment there is outstanding and unpaid a balance of $8,293.11 for the year 1920 and a balance of $107.20 for the year 1922, with interest thereon as provided by law.  On November 7, 1925, the said Decatur Brewing Co. was duly and legally dissolved and on or about said date distributed to its stockholders all of its assets and property.  At, prior and subsequent to such dissolution Frank Shlaudeman, the petitioner, was the owner and holder of shares of stock of said Decatur Brewing Co. and received in liquidation of same and without other consideration assets and property of said corporation of a value in excess of the outstanding balance due upon the above described assessment of deficiencies in 1920 and 1922 income and profits taxes of the Decatur Brewing Co. with interest as allowed by law.  OPINION.  SEAWELL: The issue of the constitutionality of section 280 of the Revenue Act of 1926, which the petitioner raises, need not be discussed as it is controlled by our decision in *1825 . The evidence shows that the petitioner was the owner and holder of shares of stock of the Decatur Brewing Co. and received in liquidation of said shares assets and property of the said company in the sum and of a value in excess of the balance shown in our findings of fact to be due upon the assessment of deficiencies in tax in 1920 and 1922 against said Decatur Brewing Co.  In the circumstances of the instant case, we are of the opinion that the petitioner is, within the meaning of the Revenue Act of 1926, a transferee of the assets and property of the dissolved corporation, the Decatur Brewing Co., and as such transferee is liable for the payment of the deficiencies in income and profits taxes of said corporation in the amounts and for the years stated in our findings of fact.  Judgment will be entered for the respondent.